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 4
 5
 6                        UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF WASHINGTON
 7
 8   UNITED STATES OF AMERICA,      )
                                    ) NO. CR-05-180-LRS-1
 9          Plaintiff,              )     CR-05-180-LRS-2
                                    )     CR-05-180-LRS-6
10                                  )     CR-05-180-LRS-7
       v.                           )
11                                  ) MEMORANDUM OPINION
                                    ) RE SENTENCING
12   DIXIE ELLEN RANDOCK,           )
     STEVEN KARL RANDOCK            )
13   HEIDI KAE LORHAN,              )
     ROBERTA LYNN MARKISHTUM, )
14                                  )
            Defendants.             )
15   ______________________________ )
16
17   I. INTRODUCTION
18         Three of these Defendants were sentenced on July 2, 2008, pursuant to the
19   terms of Fed. R. Crim. P. 11(c)(1)(C) plea agreements. Dixie Ellen Randock
20   received a term of incarceration of 3 years to be followed by 3 years of supervised
21   release. Heidi Kae Lorhan received a term of incarceration of 12 months and 1
22   day to be followed by 2 years of supervised release. Roberta Lynn Markishtum
23   received a term of incarceration of 4 months to be followed by 1 year of
24   supervised release. The sentencing of Steven Karl Randock was continued until
25   August 5, 2008, to allow further consideration of how his medical condition might
26   affect his capacity to serve a term of incarceration in the custody of the Bureau of
27   Prisons. Although Mr. Randock has not yet been sentenced, calculation of his
28   Total Offense Level under the Sentencing Guidelines is appropriate at this time, as


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 1   is ruling upon his individual objections to his Pre-Sentence Report.
 2         This memorandum opinion explains the court’s calculation of the Total
 3   Offense Level under the Sentencing Guidelines for each Defendant and the impact
 4   of the same upon the sentences given to Defendants Dixie Ellen Randock, Heidi
 5   Kae Lorhan, and Roberta Markishtum, and the sentence to be given to Steven Karl
 6   Randock. With regard to a number of the individual objections filed by the
 7   Defendants regarding their Pre-Sentence Reports, these explanations should
 8   provide the basis for the court’s rulings as to those objections.1
 9         A sentence imposed under a Rule 11(c)(1)(C) plea arises directly from the
10   agreement itself, not from the guidelines, even though the court can and should
11   consult the guidelines in deciding whether to accept the plea agreement. U.S. v.
12   Pacheco-Navarette, 432 F.3d 967, 971 (9th Cir. 2005), citing U.S. v. Cieslowski,
13   410 F.3d 353, 364 (7th Cir. 2005). The court consulted the guidelines and
14   considered the Total Offense Levels set forth infra in deciding that it would accept
15   the plea agreement as to each Defendant. Since this court imposed, or will
16   impose, non-guideline sentences upon the Defendants pursuant to their
17   11(c)(1)(C) plea agreements, the guidelines were, and are, but one of the multiple
18   factors the court was, and is, required to consider pursuant to 18 U.S.C. Section
19   3553(a). As the court announced from the bench, whether the applicable guideline
20   range for each Defendant had been as each Defendant argued, or as found by this
21   court and discussed below, the sentences imposed, and to be imposed, would have
22   been the same based on consideration of the other 3553(a) factors, in particular: 1)
23   the nature and circumstances of the offense and the history and characteristics of
24   each Defendant; and 2) the need for the sentence imposed to reflect the
25
26
           1
           A listing of the rulings on all of the objections is contained in Section VI
27
   infra. This listing summarizes and memorializes the rulings which were made
28 from the bench, and otherwise provides rulings on objections which were not ruled
   upon from the bench.

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 1   seriousness of the offense, to afford adequate deterrence to criminal conduct, to
 2   protect the public from further crimes of the Defendants, and to provide needed
 3   educational or vocational training, medical care, or other correctional treatment in
 4   the most effective manner. The sentences imposed, and to be imposed, upon the
 5   Defendants comply with the terms of their 11(c)(1)(C) plea agreements.
 6
 7   II. DIXIE RANDOCK
 8         It is agreed this Defendant’s Base Offense Level is 6. U.S.S.G. Section
 9   2B1.1(a)(2). Defendant does not object to the 2 level mass-marketing
10   enhancement pursuant to U.S.S.G. Section 2B1.1(b)(2)(A)(ii), and the 4 level
11   enhancement for being an organizer or leader pursuant to U.S.S.G. Section
12   3B1.1(a).
13
14         A. Loss Enhancement
15         This court finds that an 18 level loss enhancement is justified based on a
16   loss in excess of $2.5 million resulting from the fraud. U.S.S.G. Section
17   2B1.1(b)(1)(J). Application Note 3(B) to Section 2B1.1(b)(1) states “the court
18   shall use the gain that resulted from the offense as a measure of loss only if there
19   is a loss but it reasonably cannot be determined.” While the loss cannot
20   reasonably be determined, the gain can. In her plea agreement, Defendant
21   stipulated the Government could prove beyond a reasonable doubt that between
22   August 4, 1999 and August 11, 2005, her and her husband’s diploma business
23   “sold approximately $6,282,679.00 in fraudulent academic products to thousands
24   of individual consumers located in the United States and elsewhere;” and that
25   “unbeknownst to the defrauded consumers . . . [the academic] entities were
26   nonexistent shells that conducted no academic business whatsoever.” Even if the
27   evidentiary standard to support this enhancement is “beyond a reasonable doubt,”
28


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 1   that standard is satisfied.2 Alternatively, a “clear and convincing” standard or
 2   preponderance of standard is satisfied. U.S. v. Jordan, 256 F.3d 922, 927-28 (9th
 3   Cir. 2001).
 4         There is a loss in this case, albeit a loss which cannot reasonably be
 5   determined. Defendants concede there were some individuals who purchased the
 6   academic products who claimed belief in their legitimacy.3 Moreover, one cannot
 7   ignore the loss resulting from unsuspecting employers who hired individuals based
 8   on bogus diplomas issued by Defendants’ enterprise.
 9         The plea agreement of Defendant Lorhan acknowledges that Defendant
10   Markishtum, using a false identity, would communicate with schools, businesses,
11   and employers who would contact the Official Transcript Archive Center (OTAC)
12   or the Official Transcript Verification Center (OTVC), businesses owned by the
13   Randocks, seeking to verify the legitimacy of a diploma that had been sold. In her
14   plea agreement, Markishtum acknowledges the Government could prove the same
15   beyond a reasonable doubt, as well as the fact that she “concealed from employers
16   and prospective employers who were attempting to verify the legitimacy of a
17   degree” the true nature and location of the OTAC and OTVC which “were not
18
19         2
             Each of the Defendants have admitted certain facts, recited in their
20   respective plea agreements, which they acknowledge are sufficient to convict them
21   of conspiracy to commit wire fraud and mail fraud (Dixie Ellen Randock, Steven
     Karl Randock, and Heidi Kae Lorhan) or misprision of the same (Roberta
22   Markishtum). Per the terms of those plea agreements, the Defendants agree the
23   Government can establish those facts beyond a reasonable doubt, and that those
24   facts constitute an adequate basis for their guilty pleas. Defendants acknowledged
     that proof of those facts beyond a reasonable doubt established beyond a
25   reasonable doubt each of the elements of the crimes to which they pled guilty.
26
27         3
           In her plea agreement, Defendant Markishtum acknowledged she made a
28 statement to law enforcement that she was aware that several consumers
   complained the degrees they had purchased were “no good.”

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 1   independent and legitimate entities that had offices and a staff in Washington,
 2   D.C., or Wilmington, Delaware.” As recited in her plea agreement, Markishtum
 3   made statements to law enforcement that: (1) approximately 1,000 businesses,
 4   schools, and employers called a toll-free telephone number established by the
 5   Randocks, inquiring about a particular individual’s academic background, the type
 6   of degree awarded, the graduation date, and information, such as GPA, set forth on
 7   the individual’s transcript; and (2) approximately 600 employers contacted her to
 8   verify that a degree had been awarded. Markishtum also acknowledged as part of
 9   her plea agreement the fact that she concealed her true identity and was not an
10   employee of the University of Maryland when she falsely verified to the U.S.
11   Department of Veteran Affairs the education and academic credentials of a certain
12   individual who had purchased a bogus University of Maryland degree from the
13   Randocks’ diploma mill.
14         The Defendants contend that “what the consumers did with the degrees they
15   obtained . . . is beyond the scope of the scheme charged by the Indictment;” that
16   “[t]he consumers may have used these degrees to obtain positions within the
17   workforce for which they were not qualified, but that these actions were made
18   independently of the actions of the defendants;” and that “[t]he defendants could
19   not have calculated or anticipated what damage may result from their conduct.”
20   Based on the facts recited in and acknowledged by the Defendants in their
21   respective plea agreements, the court disagrees that consumers using their degrees
22   to obtain positions for which they were not qualified constitute actions
23   independent of the actions of the Defendants. The court also disagrees that the
24   Defendants could not have calculated or anticipated what damage may result from
25   their conduct. As discussed above, the Randocks specifically created OTAC and
26   OTVC to “verify” to employers that the degrees issued were supposedly
27   legitimate. The creation and operation of OTAC and OTVC shows the Defendants
28   knew that consumers who purchased the degrees would attempt to use them to


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 1   obtain jobs or promotions and thus, prospective and actual employers would be
 2   asking questions about the legitimacy of the degrees. OTAC and OTVC were
 3   created and operated in furtherance of the Defendants’ conspiracy to commit
 4   fraud. That the purchasers of the degrees would use them to obtain jobs and
 5   promotions was not “supervening, independent” conduct of third parties. The
 6   losses caused to these prospective and actual employers were not unforeseeable to
 7   the Defendants.
 8         Furthermore, what the consumers did with the degrees they purchased is not
 9   beyond the scope of the Indictment. Paragraph 14 of the Indictment alleges the
10   Defendants “used fictitious names, titles, and academic pedigrees when
11   communicating with consumers and employers who were attempting to determine
12   the legitimacy of a degree.” (Emphasis added). Paragraph 17 alleges the OTVC,
13   OTAC, and the Academic Credential Assessment Corporation (ACAC) “were
14   created so that the defendants could falsely represent to any employer who sought
15   verification of a degree which had been purchased that the degree was legitimate.”
16   The Indictment repeatedly refers to the alleged “duping” of employers, as well as
17   the purchasers of the degrees, as part of the scheme to defraud.
18         Defendants contend any damages sustained by “third party employers”
19   constitute consequential damages because they did not flow directly or
20   immediately from the acts of the Defendants, but were a consequence of the
21   actions of the consumers who purchased the degrees. Defendants assert that
22   consequential damages are not valued as part of the loss under U.S.S.G. Section
23   2B1.1(b)(1), citing United States v. Newman, 6 F.3d 623, 630 (9th Cir. 1993), and
24   United States v. Ortland, 109 F.3d 539, 547 (9th Cir. 1997). Newman and Ortland,
25   however, relied upon an Application Note (Note number 2) to Section 2B1.1
26   defining “loss” which is no longer part of the application notes to the 2007 version
27   of the guidelines at issue here. Newman and Ortland involved much older
28   versions of the guidelines. Under the 2007 version of the guidelines, “loss” is


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 1   defined at Application Note 3, not Application Note 2. Furthermore, the definition
 2   of “loss” found in the older versions of the guidelines upon which the Newman
 3   and Ortland courts relied in finding that consequential damages could not be
 4   counted as part of “loss,” is not found under Application Note 3 in the 2007
 5   version of the guidelines. Under the 2007 version of the guidelines, Application
 6   Note 3(A) specifically provides that “loss” is the greater of actual loss or intended
 7   loss, and Application Note 3(B) provides that the court may use the gain that
 8   resulted from the offense as an alternative measure of loss only if there is a loss,
 9   but it reasonably cannot be determined. Moreover, the losses sustained by “third
10   party employers” do not, in any event, constitute consequential damages because,
11   as discussed above, it was “predictable” that purchasers of the degrees would use
12   them to gain employment or promotions. Therefore, said losses flow directly and
13   immediately from Defendants’ sale of bogus degrees. United States v. O’Brien,
14   119 F.3d 523, 536 n. 9 (7th Cir. 1997), quoting Black’s Law Dictionary at 390 (6th
15   ed. 1990).4
16         Defendants argue that the conduct of the consumers who purchased the
17   degrees was not “in furtherance of” the “jointly undertaken criminal activity” as
18   required by U.S.S.G. Section 1B1.3(a)(1)(B) pertaining to “Relevant Conduct.”
19   Furthermore, Defendants contend the actions of the consumers did not “occur in
20   preparation for the offense, or in the course of avoiding detection for the offense.”
21   Defendants, however, ignore U.S.S.G. Section 1B1.3(a)(1)(A) which also defines
22
23
           4
               Consequential damages are defined as:
24
25                 Damage, loss or injury as does not flow directly and immediately
26                 from the act of the party, but only from some of the consequences or
                   results of such act . . . . Damages which arise from the intervention of
27
                   special circumstances not ordinarily predictable.
28
     (Emphasis added).

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 1   “Relevant Conduct” to include “all acts and omissions committed, aided, abetted,
 2   counseled, commanded, induced, procured, or willfully caused by the defendant
 3   . . . that occurred during the commission of the offense of conviction, in
 4   preparation for that offense, or in the course of attempting to avoid detection or
 5   responsibility for that offense.” (Emphasis added). What the consumers did
 6   (using the degrees to obtain jobs and promotions) does not have to be part of
 7   “jointly undertaken criminal activity” to qualify as “relevant conduct” on the part
 8   of the Defendants. The consumers who purchased the degrees do not have to be
 9   considered “co-conspirators” for their activities and the harm caused thereby to be
10   considered “relevant conduct” on the part of the Defendants.5
11
12         B. Relocation Or “Sophisticated Means” Enhancements
13         There is not sufficient evidence to support a 2 level increase pursuant to
14   U.S.S.G. Section 2B1.1(b)(9)(A) on the basis that this Defendant (Dixie Ellen
15   Randock) relocated, or participated in relocating, a fraudulent scheme to another
16   jurisdiction to evade law enforcement or regulatory officials. There is not
17   sufficient evidence that the Randocks relocated their business to Post Falls, Idaho
18   to evade law enforcement or regulatory officials. In this regard, it is noted as
19   follows: (1) Steven Randock’s plea agreement (p. 15) indicates that only “a
20   portion” of the business was relocated from Washington to Idaho; (2) some of the
21   business remained in Washington as indicated by the fact that on August 11, 2005,
22   when the search warrants were executed, one of the locations searched, and which
23   the Government says was used to operate the business, was office space within
24
25         5
            In the final Pre-Sentence Reports for each Defendant, the 6 level increase
26 pursuant to U.S.S.G. Section 2B1.1(b)(2)(C) for there being 250 or more victims
   has been withdrawn on the basis that it is impossible to determine the exact
27
   number of victims in this case. While that may be true, the court does not deem
28 this inconsistent with maintaining the enhancement for the amount of loss
   involved.

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 1   “Home Boys,” a business located in Mead, Washington; (3) if the Defendants were
 2   really trying to evade law enforcement or regulatory officials, it seems they would
 3   have tried to get further away than Post Falls, Idaho which is located on the
 4   Washington/Idaho border; and (4) Operation Gold Seal had no trouble in tracking
 5   the Defendants to their Post Falls address.
 6         There is sufficient evidence, however, to support a 2 level increase for this
 7   Defendant pursuant to U.S.S.G. Section 2B1.1(b)(9)(C) on the basis that the
 8   fraudulent scheme involved “sophisticated means.” This is plainly justified by the
 9   facts recited in the plea agreements of Dixie and Steven Randock. (See for
10   example, Paragraph N at p. 26 of Steven Randock Plea Agreement regarding
11   domestic and foreign financial accounts used to operate the business).6
12   Application Note 8(B) to Section 2B1.1 states:
13                For purposes of subsection (b)(9)(C), “sophisticated means”
                  means especially complex or especially intricate offense
14                conduct pertaining to the execution or concealment of the
                  offense. For example, in a telemarketing scheme, locating
15                the main office of the scheme in one jurisdiction but locating
                  soliciting operations in another jurisdiction ordinarily indicates
16                sophisticated means. Conduct such as hiding assets or transactions,
                  or both, through the use of fictitious entities, corporate shells,
17                or offshore financial accounts also ordinarily indicates
                  sophisticated means.
18
19
           C. Total Offense Level
20
           With an 18 level enhancement pursuant to U.S.S.G. Section 2B1.1(b)(1)(J),
21
     and a 2 level enhancement pursuant to U.S.S.G. Section 2B1.1(b)(9)(C), in
22
     addition to the 2 level mass-marketing enhancement pursuant to U.S.S.G. Section
23
     2B1.1(b)(2)(A)(ii), and the 4 level organizer or leader enhancement pursuant to
24
     U.S.S.G. Section 3B1.1(a), the Adjusted Offense Level for Dixie Randock is 32.
25
26
           6
           Section 2B1.1(b)(9) specifies a two level increase “[i]f (A) the defendant
27
   relocated, or participated in relocating, a fraudulent scheme to another jurisdiction
28 to evade law enforcement or regulatory officials . . . or (C) the offense otherwise
   involved sophisticated means.” (Emphasis added).

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 1   With a 3 level reduction for acceptance of responsibility pursuant to U.S.S.G.
 2   Section 3E1.1, her Total Offense Level is 29. Based on a Criminal History
 3   Category of I, the resulting guideline range is 87-108 months.
 4
 5   III. STEVEN KARL RANDOCK
 6         It is agreed this Defendant’s Base Offense Level is 6. U.S.S.G. Section
 7   2B1.1(a)(2). Defendant does not object to the 2 level mass-marketing
 8   enhancement pursuant to U.S.S.G. Section 2B1.1(b)(2)(A)(ii).
 9         Defendant contends he cannot be considered an organizer or a leader since
10   he acted under the supervision and leadership of Mrs. Randock. It is asserted that
11   it was Mrs. Randock who informed Mr. Randock to set up a corporation, bank
12   accounts, and mail drops. It is also asserted that Mr. Randock signed paychecks
13   for employees at the direction of Mrs. Randock. The facts recited in Mr.
14   Randock’s plea agreement, including statements that he made to law enforcement
15   agents on August 11, 2005 when the search warrants were executed, constitute
16   sufficient evidence (under any standard of proof) that he was a full and equal
17   partner with his wife in their on-line diploma business, albeit perhaps a less active
18   and more silent partner with less day to day responsibility for operation of the
19   business. A 4 level enhancement pursuant to U.S.S.G. Section 3B1.1(a) is
20   warranted.
21         For the reasons discussed above with regard to Mrs. Randock, the court
22   finds that an 18 level loss enhancement is justified with regard to Mr. Randock,
23   who, like his wife, acknowledged in his plea agreement that the Government could
24   prove beyond a reasonable doubt that between August 4, 1999 and August 11,
25   2005, their diploma business “sold approximately $6,282,679.00 in fraudulent
26   academic products to thousands of individual consumers located in the United
27   States and elsewhere;” and that “unbeknownst to the defrauded consumers . . . [the
28   academic] entities were nonexistent shells that conducted no academic business


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 1   whatsoever.”
 2         For the reasons discussed above with regard to Mrs. Randock, although
 3   there is insufficient evidence to warrant a 2 level “relocation” enhancement
 4   against Mr. Randock, there is sufficient evidence to warrant a 2 level
 5   “sophisticated means” enhancement.
 6         Therefore, Defendant Steven Karl Randock ends up with the same Adjusted
 7   Offense Level as his wife (32), the same Total Offense Level (29) following a 3
 8   level reduction for acceptance of responsibility, and the same resulting guideline
 9   range (87-108 months) based on a Criminal History Category of I.
10
11   IV. HEIDI KAE LORHAN
12         It is agreed this Defendant’s Base Offense Level is 6. U.S.S.G. Section
13   2B1.1(a)(2). Defendant does not object to the 2 level mass-marketing
14   enhancement pursuant to U.S.S.G. Section 2B1.1(b)(2)(A)(ii).
15         For the reasons discussed above with regard to Defendant Dixie Ellen
16   Randock, the court finds that a loss enhancement is justified with regard to
17   Defendant Lorhan, although only a 16 level enhancement pursuant to U.S.S.G.
18   Section 2B1.1(b)(1)(I), since the loss was more than $1 million, but not more than
19   $2.5 million. The facts recited in the plea agreement of Defendant Lorhan include
20   that between September 4, 2001 and August 11, 2005, the diploma mill conspiracy
21   of which she was a member “sold approximately $2,499,642.36 in fraudulent
22   academic products to thousands of individual consumers located in the United
23   States and elsewhere” and “unbeknownst to the defrauded consumers . . . [the
24   academic] entities were nonexistent shells that conducted no academic business
25   whatsoever.”
26          For the reasons discussed above with regard to Defendant Dixie Ellen
27   Randock, the court finds a 2 level “relocation” enhancement pursuant to U.S.S.G.
28   Section 2B1.1(b)(9)(A) is not warranted for Defendant Lorhan. Nor is a


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 1   “sophisticated means” enhancement warranted for this Defendant pursuant to
 2   U.S.S.G. Section 2B1.1(b)(9)(C). The facts recited in the respective plea
 3   agreements and the other evidence of record does not establish that Defendant
 4   Lorhan was responsible for complex or intricate offense conduct such as hiding
 5   assets or transactions, or both, through the use of fictitious entities, corporate
 6   shells, or offshore financial accounts.
 7         Defendant Lorhan asks that she be considered for a 2 level “minor
 8   participant” reduction pursuant to U.S.S.G. Section 3B1.2(b). In order to receive
 9   the “minor participant” reduction, the Defendant must establish she was
10   “substantially less culpable than the average participant.” Application Note 3(A)
11   to U.S.S.G. Section 3B1.2. According to Application Note 5, the “minor
12   participant” reduction applies to a defendant described in Application Note 3(A)
13   “who is less culpable than most other participants, but whose role could not be
14   described as minimal.” (Emphasis added). A “minimal participant” is one who
15   lacks knowledge or understanding of the scope and structure of the enterprise and
16   the activities of others and is “plainly among the least culpable of those involved
17   in the conduct of a group.” Application Note 4 to U.S.S.G. Section 3B1.2.
18   Although Defendant Lorhan may be a “minor participant” vis-a-vis Steven and
19   Dixie Randock, the court finds she is not “less culpable than most other
20   participants.” Like Defendant Lorhan, Defendants Amy Hensley, Richard Novak,
21   Blake Carlson, and Kenneth Pearson have also pled guilty to conspiracy to commit
22   fraud. Hensley and Carlson, like Lorhan, worked as “evaluators” and “advisors”
23   for the Randocks’ business, and received commissions from the Randocks..
24   Clearly, Defendant Lorhan is not less culpable than Defendant Markishtum who
25   has not pled guilty to conspiracy, but only to misprision of the same. As the court
26   cannot find Defendant Lorhan is not less culpable than most other participants, it
27   cannot justify a 2 level “minor participant” reduction.
28         With a 16 level loss enhancement, plus a 2 level enhancement for mass


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 1   marketing, Defendant Lorhan’s Adjusted Offense Level is 24. (Base Offense Level
 2   of 6 + 16 + 2). With a 3 level reduction for acceptance of responsibility, her Total
 3   Offense Level is 21. Based on a Criminal History Category of I, the resulting
 4   guideline range for this Defendant is 37-46 months.
 5
 6   V. ROBERTA MARKISHTUM
 7         For Misprision of a Felony, the Base Offense Level is 9 levels lower than
 8   the offense level for the underlying offense, but in no event less than 4. U.S.S.G.
 9   Section 2X4.1. Per Application Note 1, the “underlying offense” means the
10   offense to which the defendant is convicted of committing the misprision. With
11   regard to that “underlying offense,” the court is to “[a]pply the base offense level,
12   plus any applicable specific offense characteristics that were known, or
13   reasonably should have been known, by the defendant.” (Emphasis added). The
14   court determines the offense level for the underlying offense exactly as it would
15   have had the defendant been convicted of that offense. From there, the court then
16   applies the misprision guideline provision at Section 2X4.1.
17         The “underlying offense” is conspiracy to commit mail fraud and wire
18   fraud. The Base Offense Level is 6 pursuant to U.S.S.G. Section 2B1.1(a)(2).
19   There are, however, certain specific offense characteristics pertaining to that
20   offense of which Defendant knew or should have reasonably known. Defendant
21   does not object to the 2 level enhancement for the “mass-marketing” specific
22   offense characteristic pursuant to U.S.S.G. Section 2B1.1(b)(2)(A)(ii). For the
23   reasons discussed above with regard to Defendant Dixie Ellen Randock, the court
24   finds that a loss enhancement is justified with regard to Defendant Markishtum,
25   although only a 16 level enhancement pursuant to U.S.S.G. Section 2B1.1(b)(1)(I)
26   since the loss was more than $1 million, but not more than $2.5 million. In her
27   plea agreement, Markishtum acknowledged the Government could prove beyond a
28   reasonable doubt that from on or about August 4, 1999 until August 11, 2005, “the


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 1   diploma mill sold approximately $1,485,026.07 in fraudulent academic products to
 2   thousands of individuals located in the United States and elsewhere and that
 3   “unbeknownst to the defrauded consumers . . . [the academic] entities were
 4   nonexistent shells that conducted no academic business whatsoever.”
 5          For the reasons discussed above with regard to Defendant Dixie Ellen
 6   Randock, the court finds a 2 level “relocation” enhancement pursuant to U.S.S.G.
 7   Section 2B1.1(b)(9)(A) is not warranted for Defendant Markishtum. Nor is a
 8   “sophisticated means” enhancement warranted for this Defendant pursuant to
 9   U.S.S.G. Section 2B1.1(b)(9)(C). The facts recited in the respective plea
10   agreements and the other evidence of record does not establish that Defendant
11   Markishtum was responsible for complex or intricate offense conduct such as
12   hiding assets or transactions, or both, through the use of fictitious entities,
13   corporate shells, or offshore financial accounts.
14         Defendant’s Base Offense Level (and Adjusted Offense Level) for
15   Misprision of a Felony is 15, which is 9 levels lower than the offense level for the
16   underlying offense. The offense level for the underlying offense is 24 (Base
17   Offense Level of 6, plus 2 levels for mass marketing, plus 16 levels for the loss
18   involved). With a 2 level reduction for acceptance of responsibility pursuant to
19   U.S.S.G. Section 3E1.1, her Total Offense Level is 13. This produces a guideline
20   range of 12-18 months.
21
22   VI. RULINGS ON OBJECTIONS
23         The following are the court’s rulings on the objections as they have been
24   numbered in the Pre-Sentence Reports pertaining to these Defendants.
25
26         A. Joint Objections By Dixie Ellen Randock, Steven Karl Randock,
27             Heidi Kae Lorhan and Roberta Lynn Markishtum:
28


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 1              Objection No. 1: Overruled
 2
 3              Objection No. 2: Moot per Fed. R. Crim. P. 32(i)(3)(B)(ruling is
 4              unnecessary because the matter does not affect sentencing, or the
 5              court will not consider the matter in sentencing)
 6
 7              Objections Nos. 3, 4 and 5: Overruled
 8
 9
10              Objection No. 6: Moot
11
12              Objection No. 7: Overruled (with the understanding that
13              Government’s concern about foreigners using bogus degrees to obtain
14              H-1B visa is a valid theoretical, legal concern)
15
16              Objections Nos. 8, 9, 10, 11, 12, 13, 14, 15 and 16: Moot
17
18              Objections Nos. 17, 18, 19 and 20: Overruled
19
20              Objections Nos. 21, 22, 23, 24, 25 and 26: Moot
21
22              Objection No. 27: Sustained.
23
24              Objections Nos. 28, 29, 30, 31, 32, 33, 34, 35 and 36: Moot
25
26         B. Individual Objections By Dixie Ellen Randock:
27
28              Objection No. 37: Overruled


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 1              Objections Nos. 38 and 39: Moot
 2
 3              Objection No. 40: Sustained as to U.S.S.G. Section 2B1.1(b)(9)(A)
 4              enhancement, but Overruled as to Section 2B1.1(b)(9)(C)
 5              enhancement
 6
 7              Objections Nos. 41, 42, and 43: Moot
 8
 9              Objections Nos. 44 and 45: Overruled
10
11              Objections Nos. 46, 47 and 48: Moot
12
13         C. Individual Objections By Steven Karl Randock:
14
15              Objection No. 37: Moot
16
17              Objection No. 38: Overruled
18
19              Objections No. 39 and 40: Moot
20
21              Objection No. 41: Sustained as to U.S.S.G. Section 2B1.1(b)(9)(A)
22               enhancement, but not as to Section 2B1.1(b)(9)(C) enhancement
23
24              Objection No. 42: Overruled
25
26              Objections Nos. 43, 44, 45, 46, 47, 48 and 49: Moot
27
28              Objections Nos. 50 and 51: Overruled


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 1                 Objection No. 52: Moot
 2
 3                 Objection No. 53: Overruled
 4
 5                 Objections Nos. 54, 55 and 56: Moot
 6
 7                 Objection No. 57: Overruled
 8
 9                 Objection No. 58: Moot
10
11         D. Individual Objections By Roberta Lynn Markishtum:
12
13              Objections Nos. 1 and 2: Overruled.
14
15         E. Objection By Government Re Markishtum:
16
17              Objection No. 1: Sustained because these are facts recited in
18              Markishtum’s plea agreement and she agreed the Government
19              could prove them beyond a reasonable doubt.
20
21         The District Executive shall forward copies of this memorandum opinion to
22   counsel of record, to the U.S. Probation Office (Spokane), and to the Bureau of
23   Prisons.
24         DATED this 8th        day of July, 2008.
25
                                     s/Lonny R. Suko
26
                                      LONNY R. SUKO
27                               United States District Judge
28


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